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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MARLON RAY,                 )
                            )
    Plaintiff,              )
                            )                 Civil Action File
vs.                         )                 No.
                            )
MFINCH & WPERRY             )
SOLUTIONS, INC. d.b.a MAACO )
AUTO BODY SHOP & PAINTING, )
                            )
    Defendant.              )

                                   COMPLAINT

      Plaintiff Marlon Ray (“Plaintiff”) by and through counsel, files this Complaint

against Defendants MFinch & WPerry Solutions, Inc. d.b.a Maaco Auto Body Shop

& Painting (“Maaco” or “Defendant”) for violations of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. §§ 201 et seq., by failing to pay Plaintiff proper overtime

wages. Plaintiff files this Complaint against Defendant to recover unpaid wages,

liquidated damages, prejudgment interest, costs, and attorneys’ fees.

       In support of his claim, Plaintiff asserts as follows:

                                INTRODUCTION

      1.      This lawsuit arises from the failure of Defendant to properly calculate

and pay Plaintiff overtime wages during the period May 2021 through October 2021.
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                          JURISDICTION AND VENUE

      1.      This court has subject matter jurisdiction over Plaintiff’s FLSA claims

pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

      2.      Venue is proper in this Northern District of Georgia pursuant to 28

U.S.C. § 1391. Defendant transacts business in this judicial district and the events

giving rise to the claims herein occurred in this judicial district and division.

                                   THE PARTIES

      3.      Plaintiff Marlon Ray is a resident of Georgia in this judicial district

and division.

      4.      Defendant MFinch & WPerry Solutions, Inc. d.b.a Maaco Auto Body

Shop & Painting is a Georgia corporation with its principal office address on file

with the Georgia Secretary of State as 2826 Seneca Creek Lane, SE, Marietta, GA,

30067.

      5.      Defendant’s registered agent for service of process is Michael H Finch,

2826 Seneca Creek Lane, SE, Marietta, GA, 30067.

      6.      Defendant had annual gross revenue and volume of sales in excess of

$500,000.00 for each year in the relevant period.

      7.      At all relevant times, Defendant has continuously been an employer

engaged in interstate commerce and/or the production of goods for commerce,

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within the meaning of the FLSA, 29 U.S.C. § 207(a).

      8.      Defendant employed Plaintiff throughout the relevant period.

                    FACTUAL BASIS OF PLAINTIFF’S CLAIMS

      9.      Plaintiff was employed by Defendant as an auto painter.

      10.     At all times during his employment, Plaintiff was a non-exempt

employee of Defendant.

      11.     At all relevant times, Plaintiff was an “employee” of Defendant as that

term is defined in 29 U.S.C. § 203(e)(1).

      12.     At all relevant times, Defendant employed Plaintiff within the

meaning of the FLSA.

   A. Plaintiff’s Employment with Defendants.

      13.     Defendant hired Plaintiff in approximately May 2021.

      14.     Plaintiff’s employment with Defendant ended in approximately

October 2021.

      15.     Defendant promised Plaintiff a weekly salary of $1,000.00 plus

commission. Plaintiff’s commissions accounted for less than one half his total

earnings per pay period.

      16.     Plaintiff was employed as an auto painter and his job duties included,

but were not limited to: sanding, masking, and preparing vehicles for paint; painting

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vehicles; and finishing vehicle details after painting.

      17.    In performing his job duties for Defendant, Plaintiff did not perform

executive functions or have any duties with regard to managing any aspect of

Defendant’s operations.

      18.    In performing his job duties for Defendant, Plaintiff did not direct or

supervise the work of any employees.

      19.    In performing his job duties for Defendant, Plaintiff did not have the

authority to hire or fire any employee or make suggestions or recommendations as

to the hiring, firing, or changing the status of any employee.

      20.    In performing his job duties for Defendant, Plaintiff did not exercise

any discretion or independent judgment with regard to matters of significance.

      21.    Plaintiff’s job duties did not include primary work that requires

knowledge of any advanced type in a field customarily acquired by prolonged,

specialized, intellectual instruction or study.

   B. Plaintiff’s Unpaid Overtime.

      22.    Defendant paid Plaintiff a flat weekly salary regardless of the amount

of hours Plaintiff worked.

      23.    Defendant denied Plaintiff payment of overtime wage compensation

required by the FLSA for any hours worked in excess of 40 hours per workweek.

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      24.    While Plaintiff’s schedule varied, he regularly worked in excess of 40

hours per workweek.

      25.    Defendant willfully and/or deliberately failed to pay Plaintiff his

earned overtime wages for hours worked in excess of 40 hours per workweek in

violation of the FLSA.

      26.    Defendant maintained records of hours that Plaintiff worked.

                              COUNT I
               FAIR LABOR STANDARDS ACT VIOLATIONS
                           UNPAID WAGES

      27.    Plaintiff realleges and incorporates by reference the preceding

paragraphs of the Complaint as if they were set forth fully herein.

      28.    At all relevant times, Defendant was engaged in interstate commerce

and/or the production of services for commerce, within the meaning of the FLSA,

29 U.S.C. § 207(a).

      29.    At all relevant times, Defendant employed Plaintiff within the

meaning of the FLSA, 29 U.S.C. §§ 201 et seq.

      30.    At all relevant times, Defendant was an enterprise (as that term is

defined in the FLSA, 29 U.S.C. § 203(r) and (s)(1)) with multiple employees

(including Plaintiff) who were engaged in commerce or in handling, selling, or

otherwise working on goods or materials that have been moved in or produced for

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commerce by any person.

      31.     Defendant had annual gross revenue and volume of sales in excess of

$500,000.00 for each year in the relevant period.

      32.     At all relevant times, Defendant had a policy and practice of failing to

pay Plaintiff for all hours worked, including overtime hours, in violation of the

FLSA.

      33.     The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of the statute, 29 U.S.C. § 255(a).

      34.     Plaintiff suffered damages due to Defendant’s willful misconduct.

      35.     Due to Defendant’s FLSA violations, Plaintiff was damaged and is

entitled to recover from Defendant compensation for unpaid overtime wages; an

additional equal amount as liquidated damages; and reasonable attorneys’ fees,

costs, and disbursements of this action, pursuant to 29 U.S.C. § 216(b).

      WHEREFORE, Plaintiff demands a trial by jury and requests that this Court

grant the following relief against Defendant:

      A.      An award of compensation for unpaid wages to Plaintiff;

      B.      An award of all liquidated damages for unpaid wages to Plaintiff;

      C.      An award of costs and expenses of this action together with reasonable

      attorneys’ and expert fees to Plaintiff; and

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      D.      Such other and further relief as this Court deems just and proper.

Respectfully submitted this November 23, 2021.

                                              HALL & LAMPROS, LLP

                                              /s/ Gordon Van Remmen
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Plaintiff’s counsel certifies that this complaint is in 14-point Times New Roman
font.




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